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                                    ORDERED.


 Dated: March 08, 2018




                              UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

 In re                                                 )
                                                       )
 CATHERINE ECKLEY BENTLEY,                             )          Case No. 6:17-bk-00294-KSJ
                                                       )          Chapter 7
                 Debtor.                               )
                                                       )
                                                       )
 SUSAN KOLB, M.D.,                                     )
                                                       )
                                                       )
                                                       )
                 Plaintiff,                            )
                                                       )
 vs.                                                   )          Adversary No. 6:17-ap-00119-KSJ
                                                       )
 CATHERINE ECKLEY BENTLEY,                             )
                                                       )
                 Defendant.                            )
                                                       )

                     ORDER GRANTING MOTION TO EXTEND TIME

         This adversary proceeding came before the Court on March 6, 2018, to consider various

matters. Defendant filed a Motion to Extend Time to Take Deposition of Medical Expert

Concerning Debtor’s Mental Capacity (Doc. No. 35) (the “Motion”). After reviewing the

pleadings and considering the positions of all interested parties, it is

         ORDERED:



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       1.     The Motion (Doc. No. 35) is GRANTED.

       2.     Defendant may take Dr. Springer’s deposition on April 3, 2018 at 2:00 p.m.

                                                  ###

Attorney, Anna Handy, is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.




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